Case Case: 24-40248 Document
     2:11-cv-00084   Document: 211-3 Filed
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                                                       in TXSD02/19/2025
                                                                   Page 1 of 2
                                                                      United States Courts
                                                                    Southern District of Texas
                                                                              FILED
                   United States Court of Appeals                           2/19/2025
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK               Nathan Ochsner, Clerk of Court
LYLE W. CAYCE                                                   TEL. 504-310-7700
CLERK                                                        600 S. MAESTRI PLACE,
                                                                     Suite 115
                                                            NEW ORLEANS, LA 70130

                            February 19, 2025


Mr. Nathan Ochsner
Southern District of Texas, Corpus Christi
United States District Court
1133 N. Shoreline Boulevard
Corpus Christi, TX 78401-0000

      No. 24-40248     M.D. v. Abbott
                       USDC No. 2:11-CV-84

Dear Mr. Ochsner,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court’s opinion.

                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Roeshawn Johnson, Deputy Clerk
                                   504-310-7998
cc:   Mr. John Stewart Adams
      Mr. Jorge Benjamin Aguinaga
      Mr. David Baloche
      Ms. Morgan Brungard
      Mr. Stephen Andrew Dixon
      Mrs. Kimberly A. Gdula
      Ms. Dori Kornfeld Goldman
      Ms. Tara Grigg Green
      Ms. Marcy Hogan Greer
      Mr. Stephen J. Hammer
      Ms. Allyson Newton Ho
      Mr. Bradley G. Hubbard
      Ms. Marcia Lowry
      Mr. Barry Frank McNeil
      Mr. Raffi Melkonian
      Mr. Jason Muehlhoff
      Mr. Prerak Shah
      Ms. Savannah Silver
      Mr. Christian J. Ward
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                                                                   Page 2 of 2



     Ms. Alena Weicher
     Ms. Laura Welikson
     Mr. R. Paul Yetter
